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     Assistant U.S. Attorney
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     Sacramento, CA 95814
4    Telephone: (916)554-2748
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6
7
8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     2:10-cr-00178 MCE
                                      )
12             Plaintiff,             )     STIPULATION AND
                                      )     PROTECTIVE ORDER RE:
13        v.                          )     DISSEMINATION OF DISCOVERY
                                      )     DOCUMENTS CONTAINING
14   JAKE WEATHERS,                   )     PERSONALLY IDENTIFYING
     GLENN WATKINS,                   )     INFORMATION
15     aka Rasheed Khaleb,            )
       aka Jason Johnson,             )
16   KEVIN WATKINS,                   )
       aka Jamal Ali,                 )
17     aka Calvin Carter,             )
     FREDERICK DAVIS,                 )
18     aka Ammar Rashad,              )
       aka Corey Green, and           )
19   PAUL YEARBY, JR.,                )
       aka Malcom Ali,                )
20                                    )
               Defendants.            )
21                                    )
22        IT IS HEREBY STIPULATED AND AGREED among the parties and
23   their respective counsel, Russell L. Carlberg, Assistant U.S.
24   Attorney, representing plaintiff United States of America; Keith
25   Cable, Esq., representing defendant Jake Weathers; Dennis Waks,
26   Esq., representing defendant Glenn Watkins, aka Rasheed Khaleb,
27   aka Jason Johnson; Dan Koukol, Esq., representing defendant Kevin
28   Watkins, aka Jamal Ali, aka Calvin Carter; Joseph Wiseman, Esq.,



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1    representing defendant Frederick Davis, aka Ammar Rashad, aka
2    Corey Green; and Bruce Locke, representing defendant Paul Yearby,
3    Jr., aka Malcom Ali, that the documents provided as discovery in
4    this case to defense counsel are subject to a Protective Order.
5    Defendants are charged with conspiracy to commit mail fraud, mail
6    fraud and making false statements to mortgage lenders in
7    connection with real estate purchases.        The parties agree that
8    discovery in this case contains “Protected Information,” which is
9    defined here as including victim and witness social security
10   numbers, driver license numbers, dates of birth, addresses,
11   telephone numbers, and email addresses.        This Protective Order
12   extends to all documents provided in this case, including those
13   concerning conduct not directly charged in the indictment.
14         By signing this Stipulation and Protective Order, defense
15   counsel agree not to share any documents that contain Protected
16   Information with anyone other than defense counsel and their
17   designated defense investigators and support staff.          Defense
18   counsel may permit the defendants to view the documents in the
19   presence of their attorney, defense investigators and support
20   staff, so long as defense counsel, defense investigators and
21   support staff do not allow the defendants to copy Protected
22   Information contained in the discovery, and defense counsel,
23   defense investigators, and support staff do not allow the
24   defendants to retain unredacted copies of these records.
25         In the event that the defendants substitute counsel,
26   undersigned defense counsel agree to withhold documents
27   ///
28   ///



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1    containing Protected Information from new counsel unless and
2    until substituted counsel agree also to be bound by this order.
3    DATE:
4
                                        KEITH D. CABLE
5                                       Attorney for Jake Weathers
6
7    DATE: 6/21/10
8                                        /s/ Dennis S. Waks
                                        DENNIS S. WAKS
9                                       Attorney for Glenn Watkins
                                        aka Rasheed Khaleb
10                                      aka Jason Johnson
11
12   DATE: June 16, 2010
13                                       /s/ Dan F. Koukol
                                        DAN F. KOUKOL
14                                      Attorney for Kevin Watkins
                                        aka Jamal Ali
15                                      aka Calvin Carter
16
17   DATE: 5/24/10
18                                       /s/ Joseph J. Wiseman
                                        JOSEPH J. WISEMAN
19                                      Attorney for Frederick Davis
                                        aka Ammar Rashad
20                                      aka Corey Green
21
22   DATE: 6/3/10
23                                       /s/ Bruce Locke
                                        BRUCE LOCKE
24                                      Attorney for Paul Yearby, Jr.
                                        aka Malcom Ali
25
26                                      (Signatures retained by Attorney)
27   ///
28   ///



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1    DATE: May 24, 2010               BENJAMIN B. WAGNER
                                      United States Attorney
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3
                                       /s/ Russell L. Carlberg
4                                     RUSSELL L. CARLBERG
                                      Assistant U.S. Attorney
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6
7
8                                     ORDER
9         For good cause shown, the stipulation of counsel in
10   criminal case no. 2:10-cr-00178 MCE concerning Protected
11   Information is approved and
12        IT IS SO ORDERED.
13
     Dated: July 8, 2010
14
15                                    _____________________________
16                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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